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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA                          :
                                                      :
           v.                                         : CASE NO. 21-cr-35 (EGS)
                                                      :
    RONALD COLTON MCABEE,                             :
        Defendant.                                    :



                           MOTION FOR EMERGENCY STAY AND
                       FOR REVIEW AND APPEAL OF RELEASE ORDER

           The United States of America, by and through its attorney, the United States Attorney

    for the District of Columbia, respectfully moves this Court to, first, stay defendant Ronald

    Colton McAbee’s release pending trial, and second, review the decision by Magistrate Judge

    Jeffrey S. Frensley from the Middle District of Tennessee to deny the government’s motion for

    pre-trial detention. In support thereof, the government states the following:

    I.     BACKGROUND

           A.      Procedural Posture

          On August 17, 2021, defendant Ronald Colton McAbee was arrested in his home state of

Tennessee on an arrest warrant issued from the United States District Court for the District of

Columbia by Magistrate Judge Robin M. Meriweather in connection with an Indictment 1 charging

the defendant with one count of Inflicting Bodily Injury on Certain Officers or Employees and

Aiding and Abetting, in violation of 18 U.S.C. §§ 111(a)(1) and (b) and 2; one count of Assaulting,

Resisting, or Impeding Certain Officers or Employees, in violation of 18 U.S.C. § 111(a)(1); two



1
 The defendant is one of seven co-defendants in U.S. v. Sabol et al. Three of his co-defendants, Jeffrey Sabol, Peter
Stager, and Jack “Wade” Whitton are currently detained.
                                                         1
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counts of Obstruction of Law Enforcement During Civil Disorder, in violation of 18 U.S.C. §

231(a)(3), one count of Knowingly Entering or Remaining in any Restricted Building or Grounds

with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A), one

count of Disorderly and Disruptive Conduct in any Restricted Building or Grounds with a Deadly

or Dangerous Weapon, in violation of 18 U.S.C. §§ 1752(a)(2) and (b)(1)(A), one count of

Engaging in Physical Violence any Restricted Building or Grounds with a Deadly or Dangerous

Weapon, in violation of 18 U.S.C. §§ 1752(a)(4) and (b)(1)(A), and one count of Violent Entry

and Disorderly Conduct on Capitol Grounds, in violation of 40 U.S.C. § 5104(e)(2)(F).

       On August 17, 2021, during the defendant’s initial appearance in the Eastern District of

Tennessee, the government made a motion to detain the defendant without bond pending trial

pursuant to 18 U.S.C. §§ 3142(e), (f)(1)(A), and (f)(1)(E). A detention hearing was held on

August 26, 2021, and resumed on September 8, 2021, during which the Magistrate Judge Jeffrey

S. Frensley denied the government’s detention motion and issued an order releasing the defendant

with certain conditions. Following this, the government orally moved to stay the defendant’s

release pending an appeal by the government. Magistrate Judge Frensley granted that request,

and absent further action, the release will be effectuated at approximately 5:00 pm CST on

September 10, 2021.

       The government hereby appeals that release order. We also ask this Court to stay the

Defendant’s release pending a hearing on this appeal. Jurisdiction over this review and appeal

lies in this Court, rather than to a judge in the Middle District of Tennessee, pursuant to 18 U.S.C.

§ 3145(a)(1) (when defendant is released by person other than judge of court having original

jurisdiction over offense, government’s appeal lies to court of original jurisdiction).




                                                  2
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         B.     Statement of Facts

       On January 6, 2021, a joint session of the United States Congress convened at the United

States Capitol, which is located at First Street, SE, in Washington, D.C. The U.S. Capitol is secured

24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and

temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people with

appropriate identification are allowed access inside the U.S. Capitol. On January 6, 2021, the

exterior plaza of the U.S. Capitol was also closed to members of the public. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President

Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.

As noted above, temporary and permanent barricades were in place around the exterior of the U.S.

Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away

from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking


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windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

              The Defendant’s Assault of Metropolitan Police Department Officers

       MPD Officers A.W., B.M., and C.M. were amongst those MPD officers who were directed

to report to the U.S. Capitol to assist the USCP in their duties to maintain the security of the U.S.

Capitol on January 6, 2021. By 4:27 p.m., they had assumed posts in an archway (the “Archway”)

that provided access to the interior Capitol building from the Lower West Terrace of the building.

A.W., B.M., and C.M. were each wearing full MPD-issued uniforms; A.W. was also wearing an

MPD-issued neon jacket. The officers’ approximate location is denoted below by the red circle.




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By that time, hundreds of individuals had gathered outside of the Archway, some of whom were

throwing and swinging various objects at the group of law enforcement officers.

         In a 90 second time period, from approximately 4:27:00 to 4:28:30, Officers A.W., B.M.,

and C.M. were brutally assaulted by the rioters, including the defendant. 2 Specifically, Officer

A.W. was knocked to the archway ground by an assailant, and then had his baton snatched out of

his hands by another rioter – codefendant Jeffrey Sabol. While Officer A.W. was laying on the

ground of the archway, another rioter – codefendant Jack Wade Whitton – began striking at B.M.

with a crutch, kicked at A.W., and, assisted by Sabol and another rioter, pulled Officer B.M. out

of the Archway, over Officer A.W., and into the crowd where another rioter – codefendant Peter

Stager – began beating B.M. with a flagpole.

         The defendant, Ronald Colton McAbee, then joined the attack, which was captured by

officers’ body-worn cameras (“BWCs”) from the inside of the Archway, and by other individuals

outside of the archway, including video posted on Storyful’s YouTube page (the “Storyful



2
  Right before the assault began, the crowd of rioters had crushed against the line of police officers protecting the
Archway and several rioters were trampled by the mob. Seconds before these assaults of Officers A.W., B.M, and
C.M., at least two rioters were in medical distress and a member of the crowd was pleading with Officer A.W. and
others for help, as his friend was dying after being trampled by the mob. That individual was attempting to bring his
friend’s body forward to law enforcement when the assaults of Officers A.W., B.M., and C.M. began.

                                                         5
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Video”). 3 McAbee grabbed at A.W.’s torso, while codefendant Clayton Ray Mullins grabbed

A.W.’s leg and engaged in a tug-of-war with officers who were trying to pull A.W. back in to the

Archway, as depicted in the images below.




                                             Government Exhibit 1.1




3
    Available at https://youtu.be/aEGthdTzedk.
                                                       6
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                                    Government Exhibit 2.1

         Officer C.M. stepped out of the Archway in an attempt to come to the aid of A.W. and

B.M. McAbee then stood upright and began swinging his arms at C.M., as depicted in the images

below:




                                    Government Exhibit 2.2


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                                             Government Exhibit 3.1 4

           When C.M. attempted to push McAbee aside with a baton, codefendant Michael Lopatic

emerged from the crowd, climbed over a handrail, charged at C.M and repeatedly punched C.M.

At that point, McAbee turned back to A.W. and grabbed A.W.’s torso, pulling him out of the

Archway. The two slid down a set of stairs and into the crowd together, with McAbee on top of

A.W. and pinning A.W. down for approximately 25 seconds, as depicted in the images below:




4
    Government Exhibit 3 is an excerpt of the Storyful Video.
                                                           8
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                                             Government Exhibit 4.1 5




                                              Government Exhibit 3.2


5
    Exhibit 4.1 is a still image from the BWC video of Officer A.W., who at this point was supine.
                                                           9
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       Officer A.W. recalled having his helmet ripped off his head and being stripped of his baton,

gas mask (which was later recovered), and MPD-issued cellular phone. As he was dragged into

the mob, Officer A.W. was kicked, struck with poles, and stomped on by several individuals.

Additionally, Officer A.W. recalled being maced once his mask was ripped off. At some point

during the assault, Officer A.W. was able to retrieve his gas mask and one individual prevented

the rioters from further assaulting him, allowing him to get on his feet and back to the Archway

area. Once A.W. was back in passageway that connected to the Archway, another officer realized

A.W. was bleeding from his head. A.W. was subsequently escorted to the east side of the Capitol

building before being taken to the hospital. At the hospital, A.W. was treated for a laceration on

his head which required two staples to close.

        The Defendant’s Procurement and Possession of Deadly or Dangerous Weapons

       During the assaults described above, the defendant was wearing gloves with reinforced

knuckles. And, immediately prior to the assaults described above, McAbee was carrying what

appeared to be a baton or a black stick. These weapons are apparent in the images below:




                                                10
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                                            Government Exhibit 4.2




                                             Government Exhibit 5

        McAbee procured these reinforced “brass knuckle gloves” specifically for use on January

6, 2021. Following his arrest on August 17, 2021, McAbee consented to a search of his cellphone,

which revealed that, at the end of December 2020 and beginning of January 2021, McAbee and an

associate (“Associate-1”) made arrangements to travel to Washington, D.C. on January 6, 2021.

On December 31, 2020, Associate-1 texted a picture of a knife, brass knuckles 6, and a magazine

to McAbee, along with the comment “That’s what I’ll carry in my pocket.” The following

exchange ensued:

           MCABEE:                      How can I get some knuckles
           ASSOCIATE-1:                 Amazon is quick.
           MCABEE:                      So I’ve got a tire repair kit and the t handle tire
                                        puncture is a great tool
           ASSOCIATE-1:                 Lol this is true!




6
 Notably, brass knuckles, such as those seen in Associate-1’s photograph, are a prohibited weapon in the District of
Columbia. See 22 D.C. Code § 4514(a).
                                                         11
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Associate-1 then sent a link to an Amazon listing for “Steel Outdoor Reinforced Brass Knuckle

Motorcycle Motorbike Powersports Racing Textile Safety Gloves,” along with the comment “Just

ordered these.” Approximately 24 minutes later, McAbee texted Associate-1, asking “could you

buy those gloves in a medium and I pay you back?” to which Associate-1 responded that he could.

                                        Identification of the Defendant

         In photographs and videos of McAbee during the assaults and at other times on January 6,

2021, he is wearing a black tactical vest emblazoned with the Roman numeral III encircled in stars 7

and a patch that read “SHERIFF,” 8 a red “Make America Great Again” baseball hat, a red face

scarf / bandana, white sunglasses with polarized lenses, a black shirt with white lettering that read,

in part, “DIFFERENT GENERATION,” and black gloves with hard, metal-colored knuckles. 9

         On or about January 19, 2021, the FBI posted to the internet a “Be on the Lookout”

(“BOLO”) for the individual depicted below (who, at the time, was referred to as “BOLO #134”):




7
  Individuals and militia extremists sometimes call themselves three percenters (“III%ers” or “threepers”) based on
the myth that only three percent of American colonists took up arms against the British during the American
Revolution. Some III%ers regard the present-day US Government as analogous to British authorities during the
Revolution in terms of infringements on civil liberties. While many independent or multi-state militia groups
incorporate III% in their unit names, the term is less indicative of membership in a single overarching group than it
is representative of a common belief in the notion that a small force with a just cause can overthrow the government
if armed and prepared. Some Three Percenters or Three Percenter groups utilize a Roman numeral three (III),
surrounded by a circle of stars – similar to the one displayed on McAbee’s vest.
8
 Based on this insignia, social media and other internet users used the nickname “#threepercentsheriff” to refer to
McAbee and to compile images of him in the vicinity of the Capitol building on January 6, 2021.
9
  During a search of the defendant’s residence on August 17, 2021, FBI agents recovered a black tactical vest, a red
“Make America Great Again” baseball hat, a red bandana, red and white sunglasses, a black shirt with white
lettering that read “SAME BLOODLINE DIFFERENT GENERATION” “WE WILL NOT COMPLY, WE WILL
NOT DISARM,” and black and silver motorcycle gloves with hard knuckles.
                                                         12
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On or about May 19, 2021, the FBI posted additional photos and BWC video footage depicting

BOLO #134 on January 6, 2021.

       On or about May 26, 2021, a tipster responded to the FBI’s BOLO #134 post identifying

the subject as “Cole or Colton Mcabee” of Roane County, Tennessee. The tipster provided a name

for McAbee’s spouse, advised that McAbee worked as a sheriff’s deputy at the Cherokee County,

Georgia Sheriff’s Office (“CSO”) around the time of January 6, 2021, but had quit and relocated

to Tennessee, and had deleted his Facebook account following the events of January 6, 2021.

       A representative of CSO confirmed an individual named Ronald Colton McAbee – the

Defendant – had been employed by CSO and had left the agency in approximately November 2020

to take a position with the Williamson County Sheriff’s Office (“WSO”) in Tennessee. FBI agents

subsequently interviewed two members of CSO who had worked with and/or supervised McAbee.

During the interview, an FBI agent showed one of the CSO employees (“CSO-1”) three pictures

of BOLO #134, but did not provide any context for the pictures. CSO-1 indicated that s/he was

pretty sure that the person depicted in those photographs was McAbee and noted that the stance of


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the person in the photographs was consistent with McAbee’s. The second CSO employee (“CSO-

2”) then joined the interview and the FBI agent showed him/her the same three photographs. CSO-

2 stated that the individual in the photographs was “absolutely” McAbee.

       A representative of the WSO confirmed that McAbee had been employed by WSO from

November 9, 2020 to March 23, 2021. FBI agents interviewed a WSO employee who had worked

with McAbee and showed that employee the following picture of BOLO #134, but did not provide

any context for the picture:




The WSO employee identified the picture as McAbee.

       Postings to a Facebook account in the name of McAbee’s spouse also confirm his identity.

Those posts include:

       1.      A photograph of a black tactical vest with a “Sheriff” patch:




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       2.      A photograph posted on January 9, 2021, depicting McAbee wearing a CSO hooded

sweatshirt and a hat displaying a Roman numeral three encircled in stars – similar to the emblem

displayed on his tactical vest on January 6, 2021 -- with his right arm in a sling:




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         3.      Additional posts that detail a car accident in which McAbee was involved in on

December 27, 2020.

         A Tennessee Electronic Traffic Crash Report confirms that McAbee was involved in a

single-car accident on December 27, 2020 and was transferred by EMS (i.e., by ground) to the

hospital. 10 McAbee subsequently submitted a request to WSO to be placed in the temporary

disability program, and stated that he had injured his right shoulder and right hip in a car accident

on December 27, 2020 and had been instructed to wear a sling. That request included information

from a physician assistant who treated McAbee, which indicated that McAbee had been examined

by a medical professional on December 30, 2020 for injuries related to the accident and that as a

result of the exam, McAbee was excused from work from December 30, 2020 to January 14, 2021.

McAbee also signed a medical records release form on January 5, 2021. MCABEE was cleared

to return to work on January 14, 2021 with one limitation, no use of his right shoulder for four

weeks.

               The Defendant’s Invocation of His Status as a Law Enforcement Officer

         A few minutes after the assaults of Officers A.W. and C.M. described above, at

approximately 4:30 p.m., McAbee returned to the Archway and was part of a group of rioters who

attempted to render aid to another rioter who was in medical distress, and helped to carry/drag that

rioter to the entrance of the Archway. After that rioter was taken through the Archway, McAbee

remained at the south side of the Archway, bent over and appears to be in pain. As rioters

continued to throw objects at the police line, the officers sprayed crowd control spray at the crowd,

McAbee gestured towards the passageway behind the officers, indicating that he wanted to enter



 A Tennessee State Trooper who responded to the accident (the “Trooper”) recalled that McAbee was up and
10

walking after the accident and did not believe that McAbee sustained major injuries. The Trooper recalled that
McAbee had injured his left arm.
                                                        16
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the passageway, and exclaimed, “Don’t spray me man, I’m not freaking hurting anybody.” As

another rioter yelled that the person in distress was McAbee’s wife, 11 the crowed surged at the

police line, slamming it with riot shields, and pushing McAbee against the side of the Archway.

As McAbee’s right side was pressed against the side of the Archway, he exclaimed “I think I just

broke my fucking shoulder,” – consistent with him aggravating injuries sustained in the December

27, 2020 car accident – and asked one of the officers in the police line, “Can I get in?” (i.e.,

through the line of officers in the Archway). McAbee then pointed at the lettering on his vest,

which read “SHERIFF,” and stated, “I can’t go back that way, man.”

                        The Defendant’s Association with Anti-Government Ideology

           Despite himself having served as a sheriff’s deputy, 12 and attempting to use this status to

his advantage on January 6, 2021 (as well as wearing what appears to be government-issued gear),

the defendant repeatedly displays symbols of anti-government ideology. As discussed above, on

January 6, 2021 and on other occasions, the defendant has worn insignia associated with Three

Percenters, some of whom liken the current United States government to British authorities at the

time of the American Revolution. During his post-arrest interview, the defendant told agents that

he did not recall wearing a three percent patch on a hat and that he only purchased one three percent

patch. However, in texts, the defendant told Associate-1, “You a three per now,” and when

Associate-1 showed the defendant a t-shirt he had designed which displayed a Roman numeral

“III” circled by thirteen stars, the defendant responded, “I’ll take an XL” and “I lost my patches in

my wreck.” 13



11
     This individual who was in need of medical assistance has been identified and is not McAbee’s spouse.
12
     The Government believe that McAbee is no longer employed by any law enforcement agency.
13
  During the defendant’s post-arrest interview, he stated that when he learned that Three Percenters were listed as
an “anti-American organization,” he no longer associated himself with the ideology.
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       The defendant’s anti-government sentiments have remained strong since January 6, 2021.

On January 10, 2021, in a text message conversation with Associate-1, the defendant had a

conversation with Associate-1 regarding whether Associate-1 was going to attend the

inauguration. During that text message conversation, Associate-1 stated, “Trump will be the one

inaugurated.” The defendant responded, “I call for secession!”

       More recently, FBI agents recovered a black American flag from the defendant’s residence,

which had been displayed on the front porch. During the Civil War, Confederate soldiers flew the

black American flag to symbolize the opposite of the white flag of surrender, i.e., that the unit

would neither give in nor surrender and it would not show clemency or mercy to a surrendering

opponent.        See    Hate     Watch     Report,    Flags     and    Banners,     available     at

https://www.hatewatchreport.com/flags-symbols.

        C.      Order for Release

       On August 17, 2021, during the defendant’s initial appearance in the Middle District of

Tennessee, the government orally moved for the defendant to be detained pending trial. The

defendant is eligible for detention pursuant to 18 U.S.C. §§ 3142(f)(1)(A) [Crime of Violence] and

3142(f)(1)(E) [Dangerous Weapon]. This is based on a combination of the facts underlying the

instant offense, including his assaults on federal officers, his possession of weapons (and tactical

gear) on the Capitol Grounds, his obstructive and disruptive conduct at the U.S. Capitol, and the

defendant’s personal characteristics.

       Following a detention hearing conducted on August 26, 2021, and September 8, 2021

Magistrate Judge Jeffrey S. Frensley denied the government’s detention motion. The magistrate

judge granted a stay of the defendant’s release, until 5pm CST on September 10, 2021 pending the

government’s appeal. The government hereby appeals and seeks review of that release order and


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also asks this Court to interpose its own stay of the order until a hearing on this motion can be

held.

 III.     ARGUMENT

          Title 18, U.S.C. § 3145(a) states:

          (a) Review of a release order – If a person is ordered released by a magistrate, …

                   (1) the attorney for the Government may file, with the court
                   having original jurisdiction over the offense, a motion for
                   revocation of the order or amendment of the conditions of release
                   ...

          The motion shall be determined promptly.

         On the government’s motion to review a release order, this Court considers de novo the

Magistrate Judge’s denial of pre-trial detention. In its discretion, the Court may proceed to rehear

the evidence by recalling the witnesses, reviewing transcripts, or by proceeding through proffer

and argument. It may take additional evidence from new witnesses or consider arguments not

previously raised. In short, the Court may proceed as best enables it to resolve the question posed:

whether any condition or combination of conditions will reasonably assure the appearance of the

person as required and the safety of any other person and the community. As the legislative history

of the 1984 Bail Reform Act amendments shows:

                   [T]he language referring to the safety of the community refers
                   to the danger that the defendant might engage in criminal
                   activity to the detriment of the community. The committee
                   intends that the concern about safety be given a broader
                   construction than merely danger of harm involving violence. . .
                   .

See S.Rep. No. 225, 98th Cong., 2d Sess. 307, reprinted in 1984 U.S. Code Cong. & Ad. News

3182, 3195-3196. 14


14
  To that end, it is worthwhile recalling Congress’ intent in 1984 when it enacted the current version of the Bail
Reform Act:
                                                          19
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        Here, McAbee is subject to detention pursuant to 18 U.S.C. §§ 3142(f)(1)(A) [Crime of

Violence] and 3142(f)(1)(E) [Dangerous Weapon]. The evidence clearly shows that the defendant

is a danger to the community and poses a serious risk of obstruction of justice. There are no

conditions or combinations of conditions which can effectively ensure the safety of any other

person and the community.

         During the course of the January 6, 2021, siege of the U.S. Capitol, multiple law

enforcement officers were assaulted by an enormous mob, which included numerous individuals

with weapons, bulletproof vests, and pepper spray who were targeting the officers protecting the

Capitol. Additionally, the violent crowd encouraged others in the crowd to work together to

overwhelm law enforcement and gain unlawful entry into the U.S. Capitol.

         What is extremely troubling about the defendant’s conduct is the severity of his actions

and his anticipation of and preparation for violence. As noted above, the defendant purposefully

approached a line of police officers who were guarding the Capitol building, grabbed Officer A.W.

who had been thrown to the ground, and, in coordination with others, began to pull A.W. towards

the violent mob where Officer B.M. was already being attacked. When another officer, C.M.,




                 Many of the changes in the Bail Reform Act reflect the . . . determination that
                 Federal bail laws must . . . give the courts adequate authority to make release
                 decisions that give appropriate recognition to the danger a person may pose to
                 others if released. . . . The constraints of the Bail Reform Act fail to grant the
                 Courts the authority to impose conditions of release geared toward assuring
                 community safety, or the authority to deny release to those defendants who
                 pose an especially grave risk to the safety of the community. . . . This broad
                 base of support for giving judges the authority to weigh risks to community
                 safety in pretrial release decisions is a reflection of the deep public concern,
                 which the Committee shares, about the growing problem of crimes committed
                 by persons on release.

 See S.Rep. No. 225, 98th Cong., 2d Sess. 307, reprinted in 1984 U.S. Code Cong. & Ad. News 3182, 3486-3487.
 (Emphasis added.)


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attempted to come to A.W. and B.M.’s aid, the defendant attacked him as well, punching at him

while wearing metal-knuckled gloves. The defendant then returned to A.W., dragging him into

the mob, pinning him down, and contributing to the significant injuries that A.W. sustained and

for which A.W. had to seek medical treatment.

         This was not a momentary lapse in judgement. The defendant dressed in a manner that

indicates that he anticipated violence at the Capitol. In addition to purchasing the metal-knuckled

gloves specifically for January 6, 2021, he wore a tactical vest. And he armed himself by acquiring

a baton or a stick.

        In addition to this physical violence, the defendant also attempted to use his status as a law

enforcement officer to breach the police line and gain entry to the Capitol building, potentially

endangering the officers further. The defendant’s conduct contributed to the escalation of violence

on the Capitol grounds on the afternoon of January 6, 2021, and, contributed to the ability of the

large mob of individuals to successfully breach the U.S. Capitol, putting additional law

enforcement officers and members and staff of Congress at grave risk.

        Moreover, the defendant also poses a serious risk of obstruction of justice. The defendant

attacked police officers charged with protecting the Capitol building inside of which Congress was

carrying out its duty to certify the 2020 election. His conduct on January 6, 2021 was in and of

itself is obstructive, as it was aimed at stopping the functioning of the United States government

by derailing the certification of the electoral process, a cornerstone of our democracy. And it was

made all the more so by the fact that, at the time, he was himself a law enforcement officer. The

defendant’s ready participation in these violent assaults on police officers, while he himself was a

sheriff’s deputy, and his attempted use that status to obtain special treatment is powerful evidence

of his lack of regard for legal authority.


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       Furthermore, according to the tipster who initially identified him, the defendant deleted his

Facebook account following January 6, 2021, potentially destroying evidence of his whereabouts

that day and his motivations for his actions. The defendant’s display of symbols of anti-

government ideology and his very words indicate a lack of respect for the authority of the United

States Government – including this court – and a disinclination to follow its mandates and

directives. He now faces a significant term of imprisonment in the face of overwhelming evidence

against him. All of this gives him a compelling incentive to destroy evidence or intimidate

witnesses, or otherwise disregard the obligations imposed on him by this Court by virtue of being

a defendant in a criminal case.

       Consequently, the government requests review of the magistrate judge’s decision to release

the defendant and seeks a further stay of the order from this Court.

       To the extent the Court grants this request, the government is and will be prepared to show

that the factors under 3142(g) favor detention weigh in favor of the defendant’s detention, to wit:

(1) the nature and circumstances of the offense charged; (2) the weight of the evidence against the

defendant; (3) the history and characteristics of the defendant; and (4) the nature and seriousness

of the danger to any person or the community that would be posed by the defendant’s release. In

this case, there is no condition or combination of conditions that will reasonably assure the safety

of the community if the defendant is released, and the government argues he must be held pending

disposition in this matter.

       For the reasons stated herein, the government prosecutes this appeal of Magistrate Judge

Jeffrey S. Frensley’s decision to release the defendant and seeks a stay of the order from this Court.


       WHEREFORE, the United States respectfully prays this Honorable Court to stay the

order releasing Defendant Ronald Colton McAbee, to convene a hearing to review the decision

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to release Ronald Colton McAbee and to order instead that he be held without bond pending

trial.

                                              Respectfully submitted,

                                              Channing D. Phillips
                                              Acting United States Attorney

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                                  CERTIFICATE OF SERVICE

         I certify that a copy of the Government’s Motion for Pretrial Detention was served on all

counsel of record via the Court’s electronic filing service.




                                              /s/ Colleen D. Kukowski
                                              COLLEEN D. KUKOWSKI
                                              Assistant United States Attorney


Date: September 8, 2021




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